            Case 2:20-cv-05408-JHS Document 46 Filed 04/18/22 Page 1 of 5




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PHILIP J. ARCURI and MELANIE                 :            NO.: 2:20-CV-05408-JHS
ARCURI, Administrators of the ESTATE         :
OF ANDREA MARIE ARCURI,                      :             CIVIL ACTION – LAW
                   Plaintiffs                :
                                             :          JUDGE JOEL H. SLOMSKY
       v.                                    :
                                             :
COUNTY OF MONTGOMERY,                        :               Electronically Filed
MONTGOMERY COUNTY                            :
CORRECTIONAL FACILITY,                       :
BRIAN LEISTER, TIARE NIMMO-LEE,              :
DOMINIC WILLIAMS, CHANTELL                   :
ROUNDTREE, CORPORAL E. MERCER,               :
YOUNGSHIL DUNBAR, KALENA                     :
ANNIS, JEFFREY TRATENBURG,                   :
DANIEL WHITE, ERIC MITCHELL,                 :
GREGORY PINCIOTTI, SEAN GORMAN,              :
CATHERINE HIEM, PRIMECARE                    :
MEDICAL, INC.,                               :
                 Defendants                  :           JURY TRIAL DEMANDED

                                         ORDER

       AND NOW, this ______ day of ____________________, 2022, upon consideration of

PrimeCare Medical Inc.’s Motion for Summary Judgment, and Plaintiff’s response thereto, said

Motion is hereby GRANTED. Plaintiff’s cause of action against PrimeCare Medical, Inc., is

hereby Dismissed With Prejudice.

                                          BY THE COURT:




                                          JOEL H. SLOMSKY, J.
            Case 2:20-cv-05408-JHS Document 46 Filed 04/18/22 Page 2 of 5




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PHILIP J. ARCURI and MELANIE                     :             NO.: 2:20-CV-05408-JHS
ARCURI, Administrators of the ESTATE             :
OF ANDREA MARIE ARCURI,                          :             CIVIL ACTION – LAW
                   Plaintiffs                    :
                                                 :           JUDGE JOEL H. SLOMSKY
       v.                                        :
                                                 :
COUNTY OF MONTGOMERY,                            :                Electronically Filed
MONTGOMERY COUNTY                                :
CORRECTIONAL FACILITY,                           :
BRIAN LEISTER, TIARE NIMMO-LEE,                  :
DOMINIC WILLIAMS, CHANTELL                       :
ROUNDTREE, CORPORAL E. MERCER,                   :
YOUNGSHIL DUNBAR, KALENA                         :
ANNIS, JEFFREY TRATENBURG,                       :
DANIEL WHITE, ERIC MITCHELL,                     :
GREGORY PINCIOTTI, SEAN GORMAN,                  :
CATHERINE HIEM, PRIMECARE                        :
MEDICAL, INC.,                                   :
                 Defendants                      :           JURY TRIAL DEMANDED

                        MOTION OF PRIMECARE MEDICAL, INC.
                             FOR SUMMARY JUDGMENT

       AND NOW, comes Defendant PrimeCare Medical, Inc. (“PrimeCare”), by and through

its counsel, Marshall Dennehey Warner Coleman & Goggin, P.C., who files this Motion for

Summary Judgment by respectfully stating the following:

       1.       This matter arises from the last incarceration of Andrea Arcuri at the Montgomery

County Correctional Facility (“MCCF”).

       2.       On December 26, 2018, Ms. Arcuri presented to Montgomery County Adult

Probation and Parole apparently under the influence of illicit drugs.
            Case 2:20-cv-05408-JHS Document 46 Filed 04/18/22 Page 3 of 5




       3.       As a result of her having violated the terms of her probation, she was taken to

MCCF.

       4.       Ms. Arcuri was found unresponsive in her cell at approximately 11:47 p.m., and

she later died as a result of "adverse effects of combined drugs (heroin, fentanyl, acetylfentanyl,

bupropion, topiramate, buprenorphine [and] fluoxetine."

       5.       The undisputed material facts and the applicable law show that Plaintiff is unable

to demonstrate a deliberate indifference to a serious medical condition or that there were

constitutionally deficient policies and procedures concerning the provision of medical care in

place at MCCF.

       6.       The undisputed material facts and the applicable law show that Plaintiff is unable

to demonstrate a cause of action for professional negligence, or alternatively that this Court

should dismiss this case for lack of subject matter jurisdiction.

       7.       The undisputed material facts and the applicable law show that Plaintiff is unable

to demonstrate a cause of action for fraud and deceit.

       8.       For the reasons articulated in the attached Brief and Statement of Undisputed

Facts, PrimeCare is entitled to summary judgment.
         Case 2:20-cv-05408-JHS Document 46 Filed 04/18/22 Page 4 of 5




       WHEREFORE, Defendant PrimeCare Medical, Inc., respectfully requests this Honorable

Court grant its Motion for Summary Judgment and that Plaintiffs’ causes of action be dismissed

with prejudice.

                                         Respectfully submitted,

                                         MARSHALL DENNEHEY WARNER COLEMAN
                                         & GOGGIN

                                   By:   /s/ John R. Ninosky
                                         JOHN R. NINOSKY, ESQUIRE
                                         PA Attorney ID No. 78000
                                         100 Corporate Center Drive, Suite 201
                                         Camp Hill, PA 17011
                                         Telephone (717) 651-3709
                                         Facsimile (717) 651-3707
                                         jrninosky@mdwcg.com
Date: April 18, 2022                     Attorney for PrimeCare Medical, Inc.
          Case 2:20-cv-05408-JHS Document 46 Filed 04/18/22 Page 5 of 5




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 18th day of April, 2022, the foregoing

Motion for Summary Judgment was electronically filed with the Clerk of Court using the

CM/ECF system which will send notification of such filing to counsel of record, which service

satisfies the requirements of the Federal Rules of Civil Procedure.

       Craig A. Sopin, Esquire
       The Curtis Center, Suite 160W
       601 Walnut Street
       Philadelphia, PA 19106
       craiga@erols.com
       Attorney for Plaintiff


                                             MARSHALL DENNEHEY WARNER COLEMAN
                                             & GOGGIN

                                      By:    /s/ John R. Ninosky
                                             John R. Ninosky
